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                                      UNITED STATES DISTRICT COURT
                                      SOUTHERN DISTRICT OF FLORIDA


                                                              CASE NUMBER
 SECURITIES AND EXCHANGE COMMISSION                               1:21−cv−21079−BB
                       PLAINTIFF(S)

                             v.

 MINTBROKER INTERNATIONAL, LTD., et al.,

                                                                     DEFAULT BY CLERK F.R.Civ.P.55(a)

                     DEFENDANT(S).




                                                Clerk's Default
      It appearing that the defendant(s) herein, is/are in default for failure to appear, answer, or otherwise plead

 to the complaint filed herein within the time required by law.

 Default is hereby entered against defendant(s)

 MINTBROKER INTERNATIONAL, LTD., f/k/a SWISS AMERICA SECURITIES LTD. and d/b/a
 SURETRADER




 as of course, on the date November 16, 2021.
                                                            Angela E. Noble
                                                            CLERK OF COURT

                                                            By /s/ Carlos Davis
                                                            Deputy Clerk

 cc: Judge Beth Bloom
     Securities and Exchange Commission

                                             DEFAULT BY CLERK F.R.Civ.P.55(a)
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